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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


CHRISTOPHER DASHAUN YOUNG,

              Petitioner,                              CIVIL ACTION NO.: 2:16-cv-92

       v.
                                                       (Case. No.: 2:15-cr-8)
UNITED STATES OF AMERICA,

              Respondent.


                                         ORDER

       Presently before the Court is Petitioner Christopher Dashaun Young’s (“Young”) Motion

to Amend/Correct his Petition for Writ of Habeas Corpus. (Doc. 5.) Respondents did not file a

Response to Young’s Motion. Upon consideration, the Court GRANTS Young’s Motion as

unopposed.

                                      BACKGROUND

       Young filed a Motion to Vacate, Set Aside, or Correct his Sentence pursuant to 28 U.S.C.

§ 2255 contesting his conviction obtained in this Court on June 21, 2016. (Doc. 1.) Respondents

filed a Motion to Stay Proceedings Due to Pending Direct Appeal on August 5, 2016, (doc. 3),

which the Court granted on August 11, 2016, (doc. 4). Young then filed the present Motion to

Amend. (Doc. 5.)

                                        DISCUSSION

       Federal Rule of Civil Procedure 15, which governs amendment of pleadings, is applicable

to § 2255 petitions. Mayle v. Felix, 545 U.S. 644, 655 (2005)). Thus, the Court will apply a

traditional Rule 15 analysis to Young’s Motion to Amend. Rule 15(a) provides that a party “may
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amend its pleading once as a matter of course” either within twenty-one days after serving it or

within twenty-one days after service of a required responsive pleading or motion. Fed. R. Civ. P.

15(a)(1). Once this time has passed, a party “may amend its pleading only with the opposing

party’s written consent or the court’s leave,” which the court “should freely give . . . when justice

so requires.” Fed. R. Civ. P. 15(a)(2). “The thrust of Rule 15(a) is to allow parties to have their

claims heard on the merits, and accordingly, district courts should liberally grant leave to amend

when ‘the underlying facts or circumstances relied upon by a plaintiff may be a proper subject of

relief.’” In re Engle Cases, 767 F.3d 1082, 1108 (11th Cir. 2014) (quoting Foman v. Davis, 371

U.S. 178, 182 (1962)).

       Here, Respondent has not filed a Response or a Motion to Dismiss Young’s Section 2255

Motion. Furthermore, this case is stayed pending a decision by the Eleventh Circuit Court of

Appeals on Young’s direct appeal. Accordingly, Young may amend his Motion as a matter of

course, and the Court, therefore, GRANTS Young’s Motion. The Court DIRECTS Young to

file his Amended Section 2255 Motion within 21 days of the date of this Order.

       SO ORDERED, this 12th day of October, 2016.




                                       R. STAN BAKER
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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